            Case 19-23362-JNP                       Doc 106 Filed 10/06/24 Entered 10/07/24 00:15:09                                     Desc
                                                   Imaged Certificate of Notice Page 1 of 5

Information to identify the case:
Debtor 1
                       Giovanna M. Lewandowski                                    Social Security number or ITIN   xxx−xx−4166
                                                                                  EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2               Ryan Lewandowski                                           Social Security number or ITIN   xxx−xx−0789
(Spouse, if filing)
                                                                                  EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

United States Bankruptcy Court       District of New Jersey

Case number:          19−23362−JNP

Order of Discharge                                                                                                               12/18


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Giovanna M. Lewandowski                                    Ryan Lewandowski
               aka Giovanna Lewandowski, aka Giovanna
               Fuscellaro−Lewandowski


               10/4/24                                                     By the court: Jerrold N. Poslusny Jr.
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                             Most debts are discharged
                                                                           Most debts are covered by the discharge, but
Creditors cannot collect discharged debts                                  not all. Generally, a discharge removes the
                                                                           debtors' personal liability for debts provided for
This order means that no one may make any                                  by the chapter 13 plan.
attempt to collect a discharged debt from the
debtors personally. For example, creditors cannot                          In a case involving community property: Special
sue, garnish wages, assert a deficiency, or                                rules protect certain community property owned
otherwise try to collect from the debtors personally                       by the debtor's spouse, even if that spouse did
on discharged debts. Creditors cannot contact the                          not file a bankruptcy case.
debtors by mail, phone, or otherwise in any
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                              Some debts are not discharged
debtors damages and attorney's fees.                                       Examples of debts that are not discharged are:
However, a creditor with a lien may enforce a
claim against the debtors' property subject to that                             ♦ debts that are domestic support
lien unless the lien was avoided or eliminated. For                               obligations;
example, a creditor may have the right to foreclose
a home mortgage or repossess an automobile.
                                                                                ♦ debts for most student loans;
This order does not prevent debtors from paying
any debt voluntarily. 11 U.S.C. § 524(f).
                                                                                ♦ debts for certain types of taxes specified
                                                                                  in 11 U.S.C. §§ 507(a)(8)( C),
                                                                                  523(a)(1)(B), or 523(a)(1)(C) to the
                                                                                  extent not paid in full under the plan;




                                                                                       For more information, see page 2>
Form 3180W                                                    Chapter 13 Discharge                                  page 1
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    ♦ debts that the bankruptcy court has                  ♦ debts for restitution, or damages,
      decided or will decide are not discharged              awarded in a civil action against the
      in this bankruptcy case;                               debtor as a result of malicious or willful
                                                             injury by the debtor that caused
                                                             personal injury to an individual or the
    ♦ debts for restitution, or a criminal fine,             death of an individual; and
      included in a sentence on debtor's criminal
      conviction;
                                                           ♦ debts for death or personal injury
                                                             caused by operating a vehicle while
    ♦ some debts which the debtors did not                   intoxicated.
      properly list;

                                                      In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §            creditors from collecting from anyone else who
      1322(b)(5) and on which the last payment        is also liable on the debt, such as an insurance
      or other transfer is due after the date on      company or a person who cosigned or
      which the final payment under the plan          guaranteed a loan.
      was due;


    ♦ debts for certain consumer purchases             This information is only a general
      made after the bankruptcy case was filed if      summary of a chapter 13 discharge; some
      obtaining the trustee's prior approval of        exceptions exist. Because the law is
      incurring the debt was practicable but was       complicated, you should consult an
      not obtained;                                    attorney to determine the exact effect of
                                                       the discharge in this case.




Form 3180W                               Chapter 13 Discharge                         page 2
            Case 19-23362-JNP                    Doc 106 Filed 10/06/24 Entered 10/07/24 00:15:09                                                Desc
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 19-23362-JNP
Giovanna M. Lewandowski                                                                                                Chapter 13
Ryan Lewandowski
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0312-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Oct 04, 2024                                               Form ID: 3180W                                                            Total Noticed: 19
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 06, 2024:
Recip ID                 Recipient Name and Address
db/jdb                 + Giovanna M. Lewandowski, Ryan Lewandowski, 15 New York Ave., Berlin, NJ 08009-1120
518342884                Clean Energy Ventures, 1415 Wyckoff Road, Belmar, NJ 07719
518342888              + MIDFIRST BANK, KML LAW GROUP, 216 HADDON AVENUE, SUITE 406, wESTMONT, NJ 08108-2812
518342889                Midland Mortgage, P.O. BOX, Oklahoma City, OK 73126
518370938              + NJR Clean Energy Ventures Corporation, c/o The Kelly Firm, P.C., 1011 Highway 71, Suite 200, Spring Lake, NJ 07762-3232
518342890              + Powers Kirn, 728 Marne Highway, Suite 200, Moorestown, NJ 08057-3128
518342885              + SELECT PORTFOLIO SERVICING, INC., as, servicer for CSMC 2019-JR1 TRUST, FEIN, SUCH, KAHN, & SHEPARD, P.C., 7
                         CENTURY DRIVE, SUITE 201 Parsippany, NJ 07054-4609

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
aty                    ^ MEBN
                                                                                        Oct 04 2024 20:26:39      KML Law Group, Mellon Independence Center,
                                                                                                                  701 Market Street, Suite 5000, Philadelphia, PA
                                                                                                                  19106-1541
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Oct 04 2024 20:28:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Oct 04 2024 20:28:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
lm                     ^ MEBN
                                                                                        Oct 04 2024 20:27:16      Midland Mortgage, PO Box 268806, Oklahoma
                                                                                                                  City, OK 73126-8806
518342886                 Email/Text: EBNBKNOT@ford.com
                                                                                        Oct 04 2024 20:28:00      FORD MOTOR CREDIT, P.O. BOX 6275,
                                                                                                                  Dearborn, MI 48121
518348223                 Email/Text: EBNBKNOT@ford.com
                                                                                        Oct 04 2024 20:28:00      Ford Motor Credit Company LLC, Dept. 55953,
                                                                                                                  PO Box 55000, Detroit, MI. 48255-0953
518350243                 Email/Text: EBNBKNOT@ford.com
                                                                                        Oct 04 2024 20:28:00      Ford Motor Credit Company, LLC, PO BOX
                                                                                                                  62180, COLORADO SPRINGS CO 80962-4400
518342887              + EDI: PHINAMERI.COM
                                                                                        Oct 05 2024 00:20:00      GM FINANCIAL, P.O. BOX 181145, Arlington,
                                                                                                                  TX 76096-1145
518463625              + EDI: AISMIDFIRST
                                                                                        Oct 05 2024 00:20:00      MidFirst Bank, 999 NorthWest Grand Boulevard,
                                                                                                                  Oklahoma City, OK 73118-6051
518342892                 Email/Text: BKSPSElectronicCourtNotifications@spservicing.com
                                                                                  Oct 04 2024 20:28:00            SELECT PORTFOLIO SERVICING, 3815
                                                                                                                  SOUTH WEST TEMPLE STREET, Salt Lake
                                                                                                                  City, UT 84115
518698122                 Email/Text: BKSPSElectronicCourtNotifications@spservicing.com
                                                                                  Oct 04 2024 20:28:00            SELECT PORTFOLIO SERVICING, INC., P.O.
                                                                                                                  BOX 65250, SALT LAKE CITY, UT 84165-0250
              Case 19-23362-JNP                 Doc 106 Filed 10/06/24 Entered 10/07/24 00:15:09                                         Desc
                                               Imaged Certificate of Notice Page 4 of 5
District/off: 0312-1                                                User: admin                                                           Page 2 of 3
Date Rcvd: Oct 04, 2024                                             Form ID: 3180W                                                      Total Noticed: 19
518464755                  Email/Text: BKSPSElectronicCourtNotifications@spservicing.com
                                                                                   Oct 04 2024 20:28:00       SELECT PORTFOLIO SERVICING, INC., as
                                                                                                              servicer for, PO BOX 65250, SALT LAKE CITY,
                                                                                                              UT 84165-0250

TOTAL: 12


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
cr                 *P++          FORD MOTOR CREDIT COMPANY, P O BOX 62180, COLORADO SPRINGS CO 80962-2180, address filed with court:,
                                 Ford Motor Credit Company LLC, P.O. Box 62180, Colorado Springs, CO 80962
cr                 *+            NJR Clean Energy Ventures Corporation, c/o The Kelly Firm, P.C., 1011 Highway 71, Suite 200, Spring Lake, NJ 07762-3232
518342891          *+            RYAN LEWANDOWSKI, 15 NEW YORK AVE, Berlin, NJ 08009-1120

TOTAL: 0 Undeliverable, 3 Duplicate, 0 Out of date forwarding address


                                                    NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 06, 2024                                          Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 4, 2024 at the address(es) listed
below:
Name                               Email Address
Alex Leight
                                   on behalf of Creditor NJR Clean Energy Ventures Corporation aleight@kbtlaw.com akelly@kbtlaw.com;wsheridan@kbtlaw.com

Andrew B Finberg
                                   on behalf of Trustee Andrew B Finberg ecfmail@standingtrustee.com ecf.mail_9022@mg.bkdocs.us

Andrew B Finberg
                                   ecfmail@standingtrustee.com ecf.mail_9022@mg.bkdocs.us

Denise E. Carlon
                                   on behalf of Creditor MidFirst Bank dcarlon@kmllawgroup.com bkgroup@kmllawgroup.com

Isabel C. Balboa
                                   on behalf of Trustee Isabel C. Balboa ecfmail@standingtrustee.com summarymail@standingtrustee.com

John R. Morton, Jr.
                                   on behalf of Creditor Ford Motor Credit Company LLC ecfmail@mortoncraig.com mortoncraigecf@gmail.com

Katherine B. Galdieri
                                   on behalf of Creditor NJR Clean Energy Ventures Corporation kgaldieri@njtransit.com
                                   akelly@kbtlaw.com;wsheridan@kbtlaw.com;saudino@kbtlaw.com

Kevin Gordon McDonald
                                   on behalf of Creditor MidFirst Bank kmcdonald@kmllawgroup.com bkgroup@kmllawgroup.com

Mitchell L Chambers, Jr.
                                   on behalf of Joint Debtor Ryan Lewandowski ecfbc@comcast.net

Mitchell L Chambers, Jr.
                                   on behalf of Debtor Giovanna M. Lewandowski ecfbc@comcast.net
               Case 19-23362-JNP       Doc 106 Filed 10/06/24 Entered 10/07/24 00:15:09                                Desc
                                      Imaged Certificate of Notice Page 5 of 5
District/off: 0312-1                                       User: admin                                                   Page 3 of 3
Date Rcvd: Oct 04, 2024                                    Form ID: 3180W                                              Total Noticed: 19
R. A. Lebron
                          on behalf of Creditor SELECT PORTFOLIO SERVICING INC., as servicer for CSMC 2019-JR1 TRUST
                          bankruptcy@fskslaw.com

Travis Graga
                          on behalf of Creditor NJR Clean Energy Ventures Corporation trgraga@norris-law.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 13
